                     IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF ALASKA


    RONALD SATISH EMRIT,
                          Plaintiff,
       vs.
                                                 Case No. 5:19-cv-00002-RRB
    PRESIDENT DONALD TRUMP, et al.,

                          Defendants.


                                ORDER OF DISMISSAL

         Ronald Satish Emrit, representing himself, has filed an 21-page civil

Complaint against President Donald Trump and four federal agencies, the United

States Department of Agriculture (USDA), the United States Department of

Commerce, the Federal Trade Commission (FTC), and the International Trade

Commission (ITC). 1       Mr. Emrit alleges (1) tortious interference with business

relations/contracts; (2) a violation of the Equal Protection Clause; (3) a violation of

the Due Process Clause; (4) a violation of the Privileges and Immunities Clause;

a violation of the Americans with Disabilities Act (ADA); and a violation of the Civil

Rights Act of 1964. 2 Mr. Emrit claims diversity jurisdiction in this case. 3 He seeks




1   Docket 1 at 1, 4–5.
2   Id. at 7–19.
3   Id. at 5–6.




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$80,000 in damages, as well as injunctive relief. 4 Mr. Emrit has also filed an

Application to Waive the Filing Fee. 5

         The Court takes judicial notice 6 that Mr. Emrit has filed the same claims

asserted in his current lawsuit against the same defendants, requesting the same

relief, in other federal district courts around the country. 7

                                    Screening Requirements

         Federal law requires a court to conduct an initial screening of a complaint

brought by a self-represented plaintiff who has not paid the filing fee. In this

screening, a court shall dismiss the case at any time if the court determines that

the action

            (i) is frivolous or malicious;

            (ii) fails to state a claim on which relief may be granted; or




4   Id. at 19–21.
5   Docket 3.
6 Judicial notice is the “court’s acceptance, for purposes of convenience and without
requiring a party’s proof, of a well-known and indisputable fact; the court’s power to accept
such a fact” Black’s Law Dictionary (10th ed. 2014); see also Headwaters Inc. v. U.S.
Forest Service, 399 F.3d 1047, 1051 n.3 (9th Cir. 2005) (“Materials from a proceeding in
another tribunal are appropriate for judicial notice.”) (internal quotation marks and citation
omitted); see also Fed. R. Evid. 201.
7See, e.g., Emrit v. Trump, et al., 1:19-cv-00018, Docket 1-1 (S.D. Ohio, Jan. 7, 2019);
Emrit v. Trump, et al., 4:19-cv-40005, Docket 1 (D. Mass. Jan. 7, 2019); Emrit v. Trump,
et al., 3:19-cv-00031 (S.D. Cal. Jan. 7, 2019), Docket 1; Emrit v. Trump, et al., 1:19-cv-
00124, Docket 1 (D. Hawaii, March 8, 2019).

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            (iii) seeks monetary relief against a defendant who is immune
         from such relief. 8

         To determine whether a complaint states a valid claim for relief, a court

considers if it contains sufficient factual matter that if accepted as true “state[s] a

claim to relief that is plausible on its face.” 9 In conducting its review, the court is

mindful that it must liberally construe a self-represented plaintiff’s pleading and

give the plaintiff the benefit of any doubt. 10 Before a court may dismiss any portion

of a complaint for failure to state a claim upon which relief may be granted, the

court must provide the plaintiff with a statement of the deficiencies in the complaint

and an opportunity to amend or otherwise address the problems, unless to do so

would be futile. 11 In this case, amendment would be futile.

         Federal Rule of Civil Procedure 8(a) requires that a complaint include:

         (1) a short and plain statement of the grounds for the court’s
         jurisdiction …;
         (2) a short and plain statement of the claim showing that the pleader
         is entitled to relief; and
         (3) a demand for the relief sought, which may include relief in the
         alternative or different types of relief. 12




8   28 U.S.C. § 1915(e)(2)(B).
9   Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citation omitted).
10   See Hebbe v. Pliler, 627 F.3d 338, 342 (9th Cir. 2010) (citation omitted).
11   Garmon v. County of Los Angeles, 828 F.3d 837, 842 (9th Cir. 2016).
12   Fed. R. Civ. P. 8(a).

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                                               Analysis

         Below is primarily a description of some preliminary problems with this case.

Other substantive issues need not be addressed.

1.       The plaintiff is responsible for establishing this Court’s jurisdiction over the
         case.

         Jurisdiction is “[a] court’s power to decide a case or issue a decree[.]” 13 As

explained by the United States Supreme Court, “[f]ederal courts are courts of

limited jurisdiction. They possess only that power authorized by Constitution and

statute.” 14    That is, the United States Constitution or a federal statute must

generally be at issue to establish this Court’s jurisdiction. It is Mr. Emrit’s burden,

as the plaintiff, to show that this Court has jurisdiction to hear his claims. 15 “It is to

be presumed that a cause lies outside this limited jurisdiction[.]” 16




13   Black’s Law Dictionary (10th ed, 2014).
14Kokkonen v. Guardian Life Ins. Co. of America, 511 U.S. 375, 377 (1994) (citations
omitted).
15 K2 America Corp. v. Roland Oil & Gas, LLC, 653 F.3d 1024, 1027 (9th Cir. 2011) (“We
‘presume[ ] that a cause lies outside this limited jurisdiction, and the burden of establishing
the contrary rests upon the party asserting jurisdiction.’”) (quoting Kokkonen, 511 U.S. at
377).
16   Kokkonen 511 U.S. at 377 (citation omitted) (emphasis added).

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2.       Venue is not appropriate in Alaska.

         Mr. Emrit lists his street address in Sarasota, Florida, but claims to be a

resident of Nevada. 17         He provides Washington, D.C., addresses for the

defendants. 18

         Under 28 U.S.C. § 1391, the federal venue statute, venue is not appropriate

in Alaska because Mr. Emrit has not alleged that any of the parties reside in, or

that any of the allegations arise from, defendants’ actions in the State of Alaska. 19

As explained by the United States District Court for the Southern District of Ohio

in one of Mr. Emrit’s identical federal cases:

         Neither President Trump nor any of the identified federal agencies
         reside in Ohio, and none of Plaintiff’s allegations or claims (which
         primarily focus on the recent imposition of trade tariffs on China) relate
         to any “substantial” events in Ohio. No real property is involved;
         rather, Plaintiff’s claims include: (1) Tortious interference with an
         existing contract; (2) Violation of equal protection clause; (3) Violation
         of due process clause; (4) Violation of the privileges and immunities
         clause; (4) Violation of the Americans with Disabilities Act; and (6)
         Violation of Title VII of the Civil Rights Act. (Doc. 1-1). Pursuant to 28
         U.S.C. § 1391(e), venue for Plaintiff’s claims most likely exists where
         “the plaintiff resides” which is presumed to be in the Nevada district of
         Plaintiff’s alleged residence or possibly at his address in Florida.
         Venue does not exist in this district. 20
17   Docket 1 at 4.
18   Id. at 4–5.
19   See 28 U.S.C. § 1391(1), (2).
20  Emrit v. Trump, 2019 WL 140107 *3 (S.D. Ohio Jan. 9, 2019) (Report &
Recommendation, adopted, 2019 WL 935028 (S.D. Ohio Feb. 26, 2019)) (“[V]enue over
Plaintiff’s claims does not exist in this Court. Plaintiff asserts that venue exists under either
28 U.S.C. § 1391 or 28 U.S.C. § 1400. The latter statute has no applicability to Plaintiff’s
claims.”); see also Emrit v. Trump, 2019 WL 1461920 *1–*2 (D. Hawaii March 18, 2019),
adopted 2019 WL 1461907 (D. Hawaii April 2, 2019)) (“Plaintiff asserts various claims
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         Personal jurisdiction is “[a] court’s power to bring a person into its

adjudicative process.” 21 The United States Constitution requires that a defendant

must have a minimum level of contacts with the state in which the federal court is

located in order for that court to be authorized to hear the case. 22 Mr. Emrit has

not alleged facts in his Complaint sufficient to invoke personal jurisdiction within

Alaska.

         In order to state jurisdiction under the federal venue statute, Mr. Emrit would

have to allege facts contrary to the facts alleged in his initial Complaint. Thus,

amendment would be futile in this case. 23




against Defendants President Donald Trump, the U.S. Department of Commerce, the
U.S. Department of Agriculture, the Federal Trade Commission, and the International
Trade Commission… Plaintiff claims he is a resident of Nevada, none of the events giving
rise to the claims occurred in Hawaii, and Plaintiff has not asserted that any of the
Defendants may be subject to personal jurisdiction in Hawaii. Accordingly, without
addressing the merits of the Complaint, the District of Hawaii is not the proper venue for
Plaintiff's Complaint.”); Emrit v. Trump, 3:19-cv-00031, Docket 6 (S.D. Cal. Jan. 31, 2019)
(dismissed for improper venue).
21   Black’s Law Dictionary (definition of “personal jurisdiction”).
22 See Int’l Shoe Co. v. State of Wash., 326 U.S. 310 (1945); see also 28 U.S.C.
§ 1391(b)(3) (“If there is no district in which an action may otherwise be brought as
provided in this section, [a civil action may be brought in] any judicial district in which any
defendant is subject to the court’s personal jurisdiction with respect to such action.”).
23 Garmon, 828 F.3d at 846 (“A district court does not abuse its discretion in denying
leave to amend where it would have been impossible for the plaintiff to amend the
complaint to state a viable claim ‘without contradicting any of the allegations of his original
complaint.’”) (citation omitted).

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3. Frivolous claims.

         Mr. Emrit filed the same claims in several federal district courts around the

country, against the same defendants named in his current case in this Court. 24

The case filed in the United States District Court for the Southern District of Ohio

was dismissed under 28 U.S.C. § 1915(e)(2)(B), and Mr. Emrit “declared a

harassing and vexatious litigator, and therefore is ENJOINED AND PROHIBITED

from filing any additional complaints in the Southern District of Ohio which have

not first been certified to have been filed in the correct venue by an attorney in

good standing in this Court or the jurisdiction in which he or she is admitted, or

alternatively, which are accompanied by payment of the full filing fee.” 25

         “[A] complaint . . . is frivolous where it lacks an arguable basis either in law

or in fact.” 26 A complaint may be dismissed as frivolous if it “merely repeats

pending or previously litigated claims.” 27 Mr. Emrit’s case is frivolous.




24 See, e.g., Emrit, 2019 WL 140107 *2 (“Plaintiff identifies five Defendants: (1) President
Donald Trump; (2) United States Department of Agriculture; (3) United States Department
of Congress; (4) Federal Trade Commission; and (5) International Trade Commission.”);
see also footnote 7, above.
25   Emrit v. Trump, 2019 WL 935028 *1 (S.D. Ohio Feb. 26, 2019).
26Neitzke v. Williams, 490 U.S. 319, 325 (1989); see also Martin v. Sias, 88 F.3d 774,
775 (9th Cir. 1996); Cato v. United States, 70 F.3d 1103, 1106 (9th Cir. 1995).
27 Cato, 70 F.3d at 1105 n.2 (citations and internal quotations omitted); see also Denton
v. Hernandez, 504 U.S. 25, 31 (1992) (recognizing that an IFP litigant may lack the
economic incentives to refrain from filing frivolous or repetitive lawsuits).

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       Further, given the large number of federal cases filed by Mr. Emrit, 28 the

Court does not find this frivolous case to be appropriate for transfer to another

jurisdiction under 28 U.S.C. § 1404.29 As explained by the United States District

Court for the Southern District of Ohio:

             Looking to the allegations contained in the present complaint,
       the undersigned concludes that the allegations are patently frivolous
       and should be dismissed rather than transferred to another federal
       venue. Apart from facially apparent standing issues, this Court lacks
       subject matter jurisdiction because [Mr. Emrit] fails to include sufficient
       factual material sufficient to state any plausible claim against any
       Defendant. As the District of Columbia wrote in what appears to be
       the sole published case involving [Mr. Emrit] (out of his hundreds of
       federal cases), “federal courts are without power to entertain claims
       otherwise within their jurisdiction if they are ‘so attenuated and
       unsubstantial as to be absolutely devoid of merit.’” 30


28Westlaw.com. The Court of Appeals for the Ninth Circuit has entered a pre-filing review
order for Mr. Emrit’s appeals. See, e.g., Emrit v. Regional Transit Center, 2019 WL
2455426 *1 (9th Cir. May 31, 2019) (“This court has reviewed the notice of appeal filed
March 7, 2019 in the above-referenced district court docket pursuant to the pre-filing
review order entered in docket No. 15-80221. Because this court lacks jurisdiction over
this appeal, it shall not be permitted to proceed.”) (citations omitted); see also Emrit v.
Secretary of Hawaii, 2018 WL 264851 *2 n.2 (D. Hawaii Jan. 2, 2018) (taking “judicial
notice of Emrit’s extensive record of filing in districts nationwide, including those in which
he has been deemed a vexatious litigant or subjected to prefiling requirements”) (citations
omitted); Emrit v. National Academy of Recording Arts and Sciences, 2015 WL 518774
*3 (W.D. Texas Feb. 5, 2015) (“Sanctions are appropriate when a pro se litigant has a
history of submitting multiple frivolous claims. … Plaintiff certainly has such a history. A
PACER search reveals Emrit has filed no fewer than forty-seven … meritless lawsuits
since March of 2013 in federal courts across the country[.]”) (citations and list of cases
omitted).
29 28 U.S.C. § 1404(a) (“For the convenience of parties and witnesses, in the interest of
justice, a district court may transfer any civil action to any other district or division where
it might have been brought or to any district or division to which all parties have
consented.”) (emphasis added).
30Emrit, 2019 WL 140107 *4 (quoting Emrit v. National Institutes of Health, 157 F. Supp.
3d 52, 54 (D.C. Ct. 2016) (internal citations omitted)).

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       IT IS THEREFORE ORDERED:

1.     This case is DISMISSED under 28 U.S.C. § 1915(e)(2)(B), without prejudice

       to the filing of cognizable claims in an appropriate venue.

2.     The Application to Waive the Filing Fee, at Docket 3, is DENIED.

3.     The Clerk of Court is directed to enter a judgment accordingly.

       DATED at Anchorage, Alaska, this 21st day of June, 2019.

                                              /s/ Ralph R. Beistline
                                              RALPH R. BEISTLINE
                                              Senior United States District Judge




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